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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Brock Fredin,
                                                      Civil No. 20-cv-1929 (SRN/HB)
                     Plaintiff,

v.
                                                          ORDER ON JOINT
Jamie Kreil,                                             MOTIONS REGARDING
                                                         CONTINUED SEALING
                      Defendant.


       Before the Court are the Joint Motions Regarding Continued Sealing (ECF Nos.

200, 214), pursuant to Local Rule 5.6(d), concerning certain documents filed under seal

(specifically, ECF Nos. 154, 154-1, 154-2, 154-3, 154-4, 154-5, 154-6, 154-7, 154-8,

154-9, 154-10, 154-11, 154-12, 154-13, 154-14, 154-15, 160, 165, 165-1, 165-2, 165-3,

165-4, 165-5, 165-6, 165-7, 165-8, 165-9, 173, 205, 205-1, 205-2). Having reviewed the

motions and the documents filed under seal, as well as all of the files, records and

proceedings herein, the Court finds good cause for sealing has been shown, and therefore,

       IT IS HEREBY ORDERED that the Joint Motions (ECF Nos. 200, 214) are

GRANTED, as follows:

       1.      The following documents filed under seal shall remain sealed and the Clerk
               is directed to keep the following documents sealed:

                  ECF Nos. 154, 154-1, 154-2, 154-3, 154-4, 154-5, 154-6, 154-7,
                  154-8, 154-9, 154-10, 154-11, 154-12, 154-13, 154-14, 154-15,
                  160, 165, 165-1, 165-2, 165-3, 165-4, 165-5, 165-6, 165-7,
                  165-8, 165-9, 173, 205, 205-1, 205-2.
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Dated: May 31, 2022               s/Hildy Bowbeer
                                  HILDY BOWBEER
                                  United States Magistrate Judge




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